

Matter of Kyler M. (Caitlyn M.) (2025 NY Slip Op 02492)





Matter of Kyler M. (Caitlyn M.)


2025 NY Slip Op 02492


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CURRAN, SMITH, NOWAK, AND DELCONTE, JJ.


284 CAF 23-01678

[*1]IN THE MATTER OF KYLER M. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CAITLYN M., RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
DEENA MUELLER-FUNKE, BUFFALO, FOR PETITIONER-RESPONDENT.
DEBORAH K. JESSEY, CLARENCE, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered September 19, 2023, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, determined that respondent had derivatively abused the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Chandler W. (Caitlyn M.) ([appeal No. 1] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








